     Case: 1:17-cv-04727 Document #: 27 Filed: 10/03/17 Page 1 of 1 PageID #:143

                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Joseph Okesola
                                      Plaintiff,
v.                                                     Case No.: 1:17−cv−04727
                                                       Honorable John Robert Blakey
Pennymac Loan Services, et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 3, 2017:


       MINUTE entry before the Honorable John Robert Blakey: Status hearing held on
10/3/2017. Defendant's motion to dismiss or in the alternative to stay proceedings [18] is
granted in part. The case is hereby stayed by agreement until 4/3/2018. The motion is
denied as moot in all other aspects. Status hearing set for 4/3/2018 at 9:45 a.m. in
Courtroom 1203. Plaintiff should review the Court's standing order for pro se litigants,
which is available on the Court's webpage at www.ilnd.uscourts.gov. Plaintiff may also
wish to contact the District Court Pro Se Assistance Program, the Hibbler Help Desk,
which may be reached at the Clerk's Office Intake desk, Dirksen Federal Building, 219 S.
Dearborn, 20th floor, or by calling (312) 435−5691. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
